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                                UNITED STATES JUDICIAL PANEL
                                             on
                                  MULTIDISTRICT LITIGATION

   IN RE: PREVAGEN PRODUCTS MARKETING AND
   SALES PRACTICES LITIGATION (NO. II)                                                  MDL No. 2929



                                   ORDER DENYING TRANSFER


           Before the Panel:* Defendants Quincy Bioscience Holding Company, Inc., Quincy
   Bioscience, LLC, Prevagen, Inc., Quincy Bioscience Manufacturing, LLC, Mark Underwood, and
   Michael Beaman (collectively Quincy Defendants) move under 28 U.S.C. § 1407 to centralize
   pretrial proceedings in this litigation in the Southern District of New York. The litigation consists
   of three actions in the Southern District of New York, one action in the Southern District of Florida,
   and one action in the Western District of Texas, as listed on the attached Schedule A.

            Responding plaintiffs’ positions on centralization vary. Plaintiffs in the Southern District
   of New York Karathanos and Vanderwerff actions support centralization in the Southern District
   of New York, but only if the MDL also includes a related action in that district brought by the
   Federal Trade Commission and the Attorney General for the State of New York (FTC/NYAG).
   Plaintiff in the Southern District of New York Spath action also supports centralization in the
   Southern District of New York, and prefers including the FTC/NYAG action in the MDL, but does
   not condition her support on its inclusion. Plaintiffs in the Southern District of Florida Collins and
   Western District of Texas Engert actions oppose centralization. The Collins plaintiffs further argue
   that if centralization is ordered over their objections, the Panel should exclude Collins from the
   MDL, based on the action’s advanced procedural posture.

           This litigation, which involves allegations that defendants falsely and deceptively marketed
   Prevagen, a dietary supplement, as improving memory and providing other cognitive benefits, is
   before us for a second time. At our May 2017 hearing session, we denied these same defendants’
   motion for centralization of four actions pending in four districts. In re Prevagen Mktg. & Sales
   Practices Litig., 283 F. Supp. 3d 1379 (J.P.M.L 2017) (Prevagen I). At that time, the subject actions
   included the FTC/NYAG action, the Karathanos and Vanderwerff actions (which were then pending
   in the Eastern District of New York and the District of New Jersey, respectively), and an action in
   the Northern District of California (Racies). In our order denying centralization, we cited the
   following grounds for the denial: (1) there were only four actions and no tag-alongs, and the
   Karathanos and Vanderwerff plaintiffs shared counsel; (2) the Racies action was in an advanced
   procedural posture – it had been pending for over two years and “significant discovery” had taken
   place; and (3) the common factual issues did not seem unusually complex, given that the Prevagen
   website listed only a single clinical trial of the supplement’s efficacy (the Madison Memory Study),

          *
                  Judge Karen K. Caldwell took no part in the decision of this matter
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   and the report describing that study and its results was only ten pages long. Id. at 1380.

            After considering the parties’ arguments,1 we conclude that centralization is not necessary
   for the convenience of the parties and witnesses or to further the just and efficient conduct of this
   litigation. As we previously have stated, we will grant a follow-up motion for centralization “only
   rarely,” and upon a showing of “a significant change in circumstances.” In re Plavix Mktg., Sales
   Practices & Prods. Liab. Litig. (No. II), 923 F. Supp. 2d 1376, 1378 (J.P.M.L. 2013). We find no
   such change here. There are only five actions in three districts, and no potential tag-along actions.
   The Karathanos and Vanderwerff plaintiffs continue to share counsel (and appear to be coordinating
   with the Spath plaintiff’s counsel).2 With the exception of Western District of Texas Engert, most
   actions are in a fairly advanced procedural posture. For example, fact discovery in Southern District
   of Florida Collins is set to close on April 10, 2020, and the fact discovery cut-off in FTC/NYAG
   (which the Quincy Defendants also state they wish to follow with respect to at least Karathanos,
   Vanderwerff, and Spath) recently was extended from April 30, 2020, to July 31, 2020. And the
   common factual issues do not appear to have grown significantly – in either number or complexity
   – since the denial of centralization in Prevagen I (for example, the Madison Memory Study remains
   the only clinical study of Prevagen’s effectiveness). Given these circumstances, we continue to
   believe that alternatives to centralization are practicable, and that formal centralization under Section
   1407 is not necessary. See In re Eli Lilly & Co. (Cephalexin Monohydrate) Patent Litig., 446 F.
   Supp. 242, 244 (J.P.M.L. 1978) (listing various methods for minimizing duplicative pretrial
   proceedings).




           1
                  In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel
   considered without oral argument all matters considered at its hearing session of March 26, 2020,
   pursuant to Panel Rule 11.1(c). See Order Dispensing with Oral Argument in All Dockets, MDL
   No. 2929 (J.P.M.L. Mar. 12, 2020), ECF No. 34.
           2
                  For example, in the three Southern District of New York cases, the parties have
   jointly proposed coordinating fact and expert discovery with the FTC/NYAG action.
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        IT IS THEREFORE ORDERED that the motion for centralization of these actions is denied.


                                        PANEL ON MULTIDISTRICT LITIGATION




                                                       Ellen Segal Huvelle
                                                           Acting Chair

                                    R. David Proctor                Catherine D. Perry
                                    Nathaniel M. Gorton             Matthew F. Kennelly
                                    David C. Norton
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   IN RE: PREVAGEN PRODUCTS MARKETING AND
   SALES PRACTICES LITIGATION (NO. II)                              MDL No. 2929


                                       SCHEDULE A


              Southern District of Florida

        COLLINS v. QUINCY BIOSCIENCE, LLC, C.A. No. 1:19-22864

              Southern District of New York

        SPATH v. QUINCY BIOSCIENCE HOLDING COMPANY, INC., ET AL.,
             C.A. No. 1:19-03521
        VANDERWERFF v. QUINCY BIOSCIENCE HOLDING COMPANY, INC., ET AL.,
             C.A. No. 1:19-07582
        KARATHANOS v. QUINCY BIOSCIENCE HOLDING COMPANY, INC., ET AL.,
             C.A. No. 1:19-08023

              Western District of Texas

        ENGERT, ET AL. v. QUINCY BIOSCIENCE, LLC, C.A. No. 1:19-00183
